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                  DECLARATION OF BENJAT'/IIN DONALD ROCKEL
       l, Benjamin Donald Roekel, I am 23 and fully eonipetent to make the following
declaration:


       1.      I have known Bobby Gieswein since I was a junior in high-school, and we

have been close friends since 2018.

       2.      Bobby and I wanted    a nickname to describe our group of friends who
shared interests in camping, shooting, disaster preparedness, and outdoor survival.

       3.      At first, we chose the name "Rocky Mountain           Oathkeepers," and

registered a website URL, rockymountainoathkeeprs.com. I was contacted by a man

who said he was a leader in a state Oathkeep,er organization, who told us that the word

"Oathkeeper" is trademarked, and we needed to either become an Oathkeeper chapter,

or change the name. We researched the group because we had not known much about

them before. We decided we did not want to join, and chose to change the name.           I



believe that we were not able to change the name of our group on the registration, but

we were able to change the website name. That is when we started calling ourselves

the Woodland Wild Dogs.

       4.      Nobody was required to go through any initiation, pay any dues, or attend

particular events   or   meetings, follow any rules,    or share any ideology to join   in

Woodland Wild Dog outings. There was no formal hierarchy in our group.

       5.      The Woodland Wld Dog included people who were not ardent supporters

of former President Trump, including myself. I voted for him, but reluctantly. I believe

that other members of the group did not vote for him.
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        6.       The Woodland Wild Dogs were not an antigovernment group.

   . 7.          The most people that I have ever been with on a Woodland Wild Dog

outing with is fivc or six peopE.

        8.       I went camping with some of this group in late 2020, but the last time we

got more than four people together for a campout was probably in 2019, or very early

2020.

        9.       Bobby never told me he was an Oathkeeper, and I never had reason to

think he wiiS.

        10.      Bobby never told me he was a Proud Boy, and I never had reason to think

that he was.

        11.      Bobby and I hung out with some members of a local "Three Percentef

group, but we stopped after         a while. The Iast time we hung out with them was
approximately 2018.

        12.      Bobby never told me he was part of any other group, and I had no reason

to think that he was.

        13.      Bobby told me he was going to Washington, DC for the rally that Trump

supporters planned for January 6.

        14.      Although he invited me to join him, Bobby never tried to recruit me in any

plan to get into the Capitol, prevent the counting of electoral votes, or prevent Joe

Biden from taking off,ce as President.
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       15.     Bobby never suggested that he had any plan to get into the Capitol,

prwent the counting of electoral votes, or prevent Joe Biden from taking office as

President.

       16. I have never seen Bobby threaten violence,          let alone actually commit
violencO againSt ah6thef persoR.


       17.     Bobby frequently wore his plate carrier on camping outings, and even

around town.

      18.      Bobby wanted to     a be a police officer, and also told me that he had
spoken with an Army recruiter about joining the Army.

      I declare under penalty of perjury that the foregoing is true and conect.


Executed on June   L,zozl
